Case 1: 05- -c\/- 01175- .]DT- STA Document 3 Filed 07/28/05 Page 1 of 3 Pagg?D 1
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lN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
BRODINE (“DEAN”) F`RYE, )
)
Plaintiff, )
)
vs. ) CASE NO. 1-05-1 175 - T An
) JURY DEMANI)ED
DOLLAR GENERAL CORPORATION_, )
)
Defendant. )

AGREED ORDER FOR AN EXTENSION OF TIME FOR FILING
OF AN ANSWER OR OTHER RESPONSIVE PLEAD]NG ON

BEHALF OF 'I`HE DEFEN]]ANT.. DOLLAR GENERAL CORPORAT]ON

As evidenced by the signatures of counsel below, the parties have agreed that the Dollar
General Corporation, shall have an extension of time through and including Monday, August l,
2005, within Which to tile an Answer or other responsive pleading in connection With the above-
styled action.

lt is, accordingly, ORDERED that the Del"endant, Dollar General Corporation, Shall have an

extension of time through and including l\/londay, August l, 2005, Within Which to file an Answer

or other responsive pleading in the above-styled action.

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ENTEREDthiS 3/8 day er 9//1.¢;|/ ,2005.

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JAMEDQ TODD
U. S. TRICT COURT JUDGE

This document entered on the docket sheet In compliance
with F\u!e 58 and.'or_?Q (a) FRCP on

Case 1:05-cv-01175-.]DT-STA Document 3 Filed 07/28/05 Page 2 of 3 Page|D 2

APPROVED FOR ENTRY:

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:05-CV-01175 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

